                  Case 1:06-cv-01086-MHS Document 16 Filed 06/15/07 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


             CARLA R . KEITH,

                   Plaintiff,
                                                              CIVIL ACTION NO .
             V.
                                                              106-CV-1086-MHS
             GENERAL ELECTRIC COMPANY,
             et al.,

                   Defendants .


                                               ORDER

                   Plaintiff has failed to respond to the Court's Order to show cause why

             this case should not be dismissed for want of prosecution pursuant to Local

             Rule 41 .3A(3) . Accordingly, this action is hereby DISMISSED for want of

             prosecution .


                   IT IS SO ORDERED, this day of Juhe, K00f .




                                                        Ma'rvin H . Shoob, Senior Judge
                                                        United States District Court
                                                        Northern District of Georgia




AO 72A
(Rev.8182)
